Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 1 of 18




                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                 Case Number:__________________-CIV-_____________________

  RAYMOND T. MAHLBERG,
         Plaintiff,
  v.


  IRO INC,
        Defendant.
  ________________________________/


                       COMPLAINT FOR PERMANENT INJUCTIVE RELIEF

                COMES NOW, Plaintiff Raymond T. Mahlberg (“Plaintiff “or “Mahlberg”), by

  and through undersigned counsel, files this Complaint for Permanent Injunctive Relief pursuant to

  Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189

  (“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36 Regulations. Plaintiff state as

  follows:

                         INTRODUCTION AND NATURE OF THE ACTION

                 1. This Court has jurisdiction over this case based on federal question Jurisdiction,

  as provided in 28 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

                 2. Plaintiff is a visually-impaired and legally blind person (disabled) who requires

  assistance through screen-reading software to read website content using his computer. Plaintiff

  uses the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

  Amendment acts of 2008, 42 USC §12101 (ADAAA).



                                                   1
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 2 of 18




                          3. Defendant’s website https://www.iroparis.com/us (the “Website”) are

  not fully or equally accessible to blind or visually impaired consumers in violation of the

  “ADA.” As a result, Plaintiff seeks a permanent injunction to cause a change in IRO Inc

  (“Defendant” or “IRO”) policies, practices and procedures so that Defendant’s Website will

  become, and remain, accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and

  costs, including, but not limited to, court costs and expert fees, pursuant to Title III of the

  Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and

  42 U.S.C. 2000a-3(a). See also 28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36

  Regulations.

                  4. Plaintiff is unaware of the true names, identities, and capacities of all responsible

  parties (defendants) being sued. Plaintiff will seek leave to amend this complaint to allege the

  true names and capacities if and when ascertained. Plaintiff is informed and believes, and

  thereupon alleges, that Defendant is legally responsible in some manner for the events and

  happenings alleged herein and that Defendant sued here proximately caused injuries and damages

  to Plaintiff as set forth below.

                  5. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA

  Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, build,

  maintain, and operate its Website to be fully and equally accessible to and independently

  operational by Plaintiff, constitutes in Defendant’s denial of full and equal access to physical

  stores and Website, resulting in a violation of Plaintiff’s rights under the Americans with

  Disabilities Act (“ADA”).




                                                     2
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 3 of 18




                   6. Defendant’s Website is a point of sale for the Defendant physical store. The

  Defendant’s e-commerce platform (https://www.iroparis.com/us “Website”) allows purchase of

  the same merchandise online or at the brick-mortar store.

                   7. The Defendant owns and operates the Website for desktop and mobile

  application for e-commerce and several clothing stores that are located in Florida.

                   8. Because Defendant is a store open to the public, each of Defendant’s physical

  stores is a place of public accommodation subject to the requirements of Title III of the ADA, 42

  U.S.C. §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

                   9. Plaintiff Raymond T. Mahlberg, a blind veteran of the U.S. military, residing in

  Orlando, Florida brings this action under the Americans with Disabilities Act in Federal Court.

                   10. Blind and visually impaired citizens must use screen reading software1 or other

  assistive technologies in order to access Website content.

                   11. Plaintiff cannot use his computer and mobile device browser without the

  assistance of appropriate and available screen reader software to understand website.

                   12. Defendant’s Website is built in digital code that impedes screen-reader

  software to work. A few lines of code could make the Defendant’s Website compatible with the

  popular blind’s screen-readers software and grant access to Defendant’s store to all blind

  individuals, including Plaintiff.

                   13.Screen reader software translates the visual internet into an auditory equivalent.

  which vocalizes visual information found on the computer screen. With this software, Plaintiff

  has successfully used more than 400 websites.


  1
    “screen reader” is a software application that enables people with severe visual impairments to use a computer.
  Screen readers work closely with the computer's Operating System (OS) to verbalize information about icons, menus,
  dialogue boxes, files and folders.


                                                          3
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 4 of 18




                 14. The software reads the content of a webpage to the user. The screen reading

  software uses auditory cues to allow a visually impaired user to effectively navigate the websites.

                  15. Plaintiff visited the Website when at home, or on the go or in transit when

  visiting other cities. The purpose of the Website is to turn visitors into prospects. One of the

  functions of the Defendant’s Website is to provide the public information on the locations of

  Defendant’s stores through a “store locator” feature. Defendant also sells to the public its

  merchandise through the Website, which acts as a point of sale for Defendant’s merchandise

  available in, from, and through Defendant’s physical stores and https://www.iroparis.com/us.

                 16. This case arises out of the fact that Defendant IRO has operated its business in

  a manner and way that effectively excluding Plaintiff who are visually impaired from access to

  Defendant physical stores and online store (the Website). Because the Website, an e-commerce

  online platform, carries the same products in the physical store and connects individuals to make

  a purchase on the Website 24/7, the same way they would in the physical store (during limited

  hours 10am to 8pm). The Website has a nexus to, and is an extension of and gateway to the

  Defendant’s physical stores.

                 17. Because the public can view and purchase Defendant’s goods through the

  Website that are also offered for sale in Defendant’s physical stores, thus having the Website act

  as a point of sale for Defendant’s products that are also sold in the physical stores, arrange in-

  store and curbside pickups of merchandise purchased online benefits for use online and in the

  physical stores, the Website is an extension of and gateway to the physical stores, which are places

  of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E).

                 18. Even if the Website is not itself a place of public accommodation the

  Defendant’s physical stores are a place of public accommodation under 42 U.S.C. §12181(7)(E),



                                                   4
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 5 of 18




  and must comply with all requirements of the ADA. The Website is an extension and a necessary

  service, privilege, and advantage of the Defendant’s physical stores. Defendant must not

  discriminate against individuals with visual disabilities and must not deny those individuals the

  same full and equal access to and enjoyment of the goods, services, privileges, and advantages

  afforded the non-visually disabled public both online and in the physical stores.

                 19. As a result of Plaintiff being legally blind, before he embarks on any venture

  from his home, Plaintiff studies the location where Plaintiff is seeking to patronize through using

  the internet. Plaintiff has made innumerous attempts to access Defendant’s physical store and

  Website in the past, but Plaintiff could not locate the nearest store thru the Website neither pre-

  shop the Defendant’s merchandise because the Website is not readable by the screen-reader.

                 20. Plaintiff intends to continue to access the Defendant’s physical store and make

  a purchase thru the Website and pick up at curbside or just pre-shop. Plaintiff was informed that

  there is one of the Defendant’s physical store near Plaintiff’s home, and at Brickell City Center,

  701 S. Miami Ave., Miami, Florida 33130.

                 21. Plaintiff is and has been a customer who is interested in patronizing and intends

  to patronize in the near future Defendant’s physical stores once the Website(s)’s access barriers

  are removed or remedied. The barriers Plaintiff encountered on Defendant’s Website(s) have

  impeded Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s brick-

  and mortar stores.

                 22. In the alternative, Plaintiff intends to monitor the Website in the near future,

  as a tester, to ascertain whether the Website has been updated and remedied to work properly with

  screen-readers.




                                                   5
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 6 of 18




                 23. Before Plaintiff visited Defendant’s physical store, Plaintiff needs to visit the

  store online, because the opportunity to shop and pre-shop Defendant’s products from Plaintiff’s

  home are important accommodations for Plaintiff; because as a visually disabled individual

  Plaintiff plans his outings in advance.

                 24. Plaintiff is impeded to access and communicate with Defendant effectively,

  unable to take advantage and use one of the Defendant’s Website to pre-shop and purchase

  Defendant’s merchandise, to arrange in-store and curbside pickups of merchandise purchased

  online, create an account and sign up for an electronic emailer to receive exclusive online offers,

  benefits, invitations, and discounts for use both online and in the physical stores.

                 25. The privilege to navigate the Website(s) from Plaintiff’s home is important

  and necessary accommodations for Plaintiff because traveling outside of his home as a visually

  disabled individual is an often challenging and fearsome experience. Defendant’s failure to

  provide auxiliary aids and services for effective communications is an act of discrimination

  against Plaintiff. Title III ADA 28 C.F.R. § 36.303.

                 26. However, unless Defendant is required to eliminate the access barriers at issue

  and required to change its policies so that access barriers do not reoccur on Defendant’s

  Website(s), Plaintiff will continue to be denied full access to IRO’s physical stores and the

  Website.

                                   JURISDICTION AND VENUE

                 27. This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief pursuant

  to 28 U.S.C. §§2201 and 2202.

                28. Defendant have several shops in the State of Florida. Defendant conducts and

  continues to conduct a substantial and significant amount of business in this District.

                                                    6
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 7 of 18




                 29. Venue is proper pursuant to 28 U.S.C. §1391, in the Southern District of Florida

  where defendant has retail stores and a substantial part of the events giving rise to the claims

  occurred. Personal jurisdiction exists when the Defendant purposefully availed itself of the

  conducting activities within the forum State.

                 30. Plaintiff’s claims asserted herein arose in this judicial district. Plaintiff was told

  that there is a IRO’s store near his home.

                 31. Plaintiff is a resident of Orlando, FL 32817. is sui juris, and is disabled as

  defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

                 32. This is an action injunctive relief pursuant to Title III of the Americans with

  Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 C.F.R. § 36.201 and to prevent

  discrimination which includes equal access and effective communications with Defendant’s

  business. This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343.

                 33. Defendant is subject to personal jurisdiction in this District. Defendant has been

  and is committing the acts or omissions alleged herein in the Southern District of Florida that

  caused injury, and violated rights prescribed by the ADA to Plaintiff. A substantial part of the acts

  and omissions giving rise to Plaintiff’s claims occurred in the Southern District of Florida.

  Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment of

  the facilities, goods, and services of Defendant’s Website in Florida. The access barriers Plaintiff

  encountered on Defendant’s Website has caused a denial of Plaintiff’s full and equal access

  multiple times in the past, and now deter Plaintiff on a regular basis from accessing Defendant’s

  Website. Defendant IRO is authorized to conduct, and is conducting, business within the State of

  Florida and within the jurisdiction of this court.

                                           THE PARTIES



                                                       7
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 8 of 18




                 34. Plaintiff Mahlberg, is a resident of the State of Florida. Plaintiff resides in

  Orlando. Mahlberg is legally blind, and a member of a protected class under the ADA. Whereby,

  he has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations implementing

  the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff suffered

  an assault to the back of his head in 2004 which caused damage and atrophy of the optic nerve,

  and as a consequence, is legally blind. Plaintiff is a legally blind individual who has a physical

  impairment that substantially limits the major life activity of seeing. Accordingly, Mahlberg has a

  disability within the meaning of 42 U.S.C. § 12102 and 28 C.F.R. § 35.104. Plaintiff is a qualified

  individual with a disability within the meaning of 42 U.S.C. § 12131(2), 29 U.S. Code § 794 and

  28 C.F.R. § 35.104.

                 35. Plaintiff cannot use the computer without the assistance of a screen reader

  software. Mahlberg is a proficient user of the JAWS screen-reader to access the internet." JAWS,

  or "Job Access With Speech," uses keyboards keys to navigate the website by reading loud the

  website. For screen-reading software to work, the information on a website must be capable of

  being rendered into text-description. A description of the image, icons and navigate in an organized

  order.

                 36. IRO INC is a foreign for profit corporation. Defendant is the owner and operator

  of a chain of several of fashion clothing stores under the brand name IRO Paris. IRO produces and

  distributes IRO fashion clothing to its shops and distributors in Florida.

                 37. Upon information and belief, at all times material hereto, Defendant IRO owns,

  operates, and/or manages the day-to-day affairs of IRO fashion stores which are operating within

  the State of Florida. Defendant’s store are public accommodations pursuant to 42 U.S.C. §

  12181(7)(E).



                                                    8
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 9 of 18




                 38. Plaintiff believes, and thereon alleges, that defendant IRO corporation and

  affiliates and/or related entities, actively engaged in the sale of apparel in various states throughout

  the country, including Florida.

                 39. Said Defendant entities will hereinafter collectively be referred to as “IRO” or,

  where appropriate, “Defendant.”

                                                 FACTS

                 40. Defendant is defined as a “Place of Public Accommodation" within meaning of

  Title III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery

  store, clothing store, hardware store, shopping center, or other sales establishment,” 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(5).

                 41. Each of Defendant IRO stores are open to the public and each is a Place of

  Public Accommodation subject to the requirements of Title III of the ADA and its implementing

  regulation as “[A] … other sales establishment,” as defined by 42 U.S.C. §12181(7)(E); §12182,

  and 28 C.F.R. Part 36.

                 42. IRO offers fashion clothing and accessories for sale to the general public.

                 43. Defendant has control over several points of sale including the Website, its

  content, design and source-code, and/or operates his web pages, including image and data

  content. Defendant owns and operate the domain name https://www.iroparis.com/us that is

  configured for use by desktop computer and mobile devices such as smartphones.

                 44. One of the functions of Defendant’s Website (available to browse in mobile or

  computer version) is to provide the public information on the various locations of Defendant’s

  stores that sell fashion clothing and accessories. The other function of the Website is to sell

  Defendant’s products.



                                                     9
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 10 of 18




                   45. Defendant’s Website are offered by Defendant as a way for the public to

   communicate with IRO’s fashion products. Defendant’s Website also permits the public to register

   and create an account allows the general public to order and purchase fashion clothing

   merchandise, provides: customer service and locate a shop.

                   46. Blind Plaintiff needs to plan his outgoings since at the physical store it is

   difficult to know the prices, price tags are not in Braille. Like innumerous customers, Plaintiff

   rather to accesses Defendant’s Website since online purchase is faster or at least pre-purchase

   before Plaintiff goes to the store. Plaintiff has a concrete plan of visiting the store because Plaintiff

   admires the quality of Defendant’s products and would like to buy it in a regular basis.

                   47. Plaintiff is a customer of IRO’s stores since his intent to continue visiting an

   IRO clothing store near his home. Plaintiff through his inquiries learned that there are a few IRO’s

   shops in his area.

                   48. During the month of June 2022, on several occasions, Plaintiff was denied

   access to Defendant’s Website, because the Website is incompatible to screen-reader software.

   Plaintiff explains that the Website contains the following access barriers that prevents him from

   free and full use of screen reader software. Plaintiff encountered these barriers that are persistent

   and include, but are not limited to:

           a. Product images are mislabeled because it uses the image link or numbers instead a

   product description. When the image has a link as a description-alt it announces the product

   image as a link Plaintiff and screen-reader users cannot understand. The issue is at

   https://youtu.be/XzkMjE672PI.

           b. Some images have the same id, check https://youtu.be/HaBtsYhru4I.

           c. At the landing page images have no accessible alt-description, the images label is a link or

   numbers. https://youtu.be/LyrC1hs-by4 and https://youtu.be/dye4zzjvfCE.

                                                      10
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 11 of 18




          d. When the user clicks “Add to Bag” a pop-up windows shows up but is not announced,

   then Plaintiff does not know if was added to bag or what happened and how to check out. Check

   the issue at https://youtu.be/TQIAKnsHriM.

                    49. Due to these barrier Plaintiff was unable and impeded to access: Plaintiff was

   unable to learn (1) Defendant’s store locations open in his area; (2) the cost of Defendant’s

   products; (3) buy a shirt on the Website and pick up at curbside or at the nearest Defendant’s

   stores; (4) offers and discounts; and (5)product pricing and finalizing an online purchase. Thus,

   Defendant’s Website creates an intangible barrier that prevents Mahlberg from “’accessing a

   privilege’ of a physical place of public accommodation, where Plaintiff cannot locate the

   defendant’s store, pre-purchase or make a purchase to pickup at the store.

                  50. During Plaintiff’s several visits to the Website using JAWS most popular

   screen-reader for computer and smartphone browsing, occurring on May 5, 2022 and the last on

   July 12, 2022, attempted to visit the physical store by checking the Website first, however the

   plaintiff encountered multiple access barriers that denied the plaintiff full and equal access to the

   facilities, goods and services offered to the public and made available to the public; and that denied

   the plaintiff the full enjoyment of the Defendant’s facilities, goods, and services.

                              AMERICAN WITH DISABILITIES ACT

                  51. The failure to access the information needed precluded Plaintiff’s ability to

   patronize IRO’s stores because, as a blind individual, Plaintiff needs to plan his outings out in

   detail in order to have the proper financing for a venture, and ensure that Plaintiff arrives at a given

   location.

                  52. Under Title III of the ADA, 42 U.S.C. §§ 12181–12189 (“Title III”), which

   addresses “Public Accommodations and Services Operated by Private Entities.” Title III provides



                                                     11
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 12 of 18




   that “[n]o individual shall be discriminated against on the basis of disability in any place of public

   accommodation.” 42 U.S.C. § 12182(a).

                  53. Title III provides that “no individual shall be discriminated against on the basis

   of disability” in “any Place of Public Accommodation.” 42 U.S.C. § 12182(a). As defined in Title

   III, the term “public accommodation” includes a “store and sales establishment” Id. § 12181(7)(E).

   Defendant IRO Inc owns and operates stores, IRO Paris.

                  54. Binding Court acknowledged that Title III’s public accommodation protection

   “covers both tangible and intangible barriers, such as screening rules or discriminatory procedures

   that restrict a disabled person’s ability to enjoy the defendant entity’s services and privileges.

                  55. On March 18, 2022, The Department of Justice issued Web Accessibility

   Guidance under the Americans with Disability Act. It explains how businesses open to the public

   (entities covered by ADA Title III) can make sure their website is accessible to people with

   disabilities in line with the ADA’s requirements. (Exhibit A). The guidance discusses the

   importance of web accessibility, barriers that inaccessible websites create for people with

   disabilities, tips on making web content accessible and applied the Web Content Accessibility

   Guidelines (“WCAG”) 2.1 to determine accessibility. See https://www.justice.gov/opa/pr/justice-

   department-issues-web-accessibility-guidance-under-americans-disabilities-act.

                  56. Title III ADA Part 36 regulation was amended to integrate section 36.303

   Auxiliary Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and

   services where necessary to ensure effective communication with individuals with disabilities.”

                  57. The access barriers Plaintiff encountered on Defendant’s Website has caused a

   denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a

   regular basis from accessing Defendant’s Website.



                                                     12
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 13 of 18




                  58. Plaintiff would like to become Defendant’s patron and access the Defendant’s

   physical store and the Defendant’s Website in the near future but the barriers Plaintiff encountered

   on Defendant’s Website has impeded Plaintiff’s full and equal enjoyment of goods and services

   offered at Defendant’s brick-and mortar stores.

                  59. The fact that Plaintiff could not access the Defendant’s Website and could not

   comprehend the electronic pages contained therein, left Plaintiff excluded from accessing IRO’s

   stores, goods and services available from Defendant and further affects Plaintiff with the sense of

   segregation, rejection, isolation, humiliation, frustration and unable to participate in a manner

   equal to that afforded to others who are not similarly disabled. As a result, Plaintiff has suffered in

   a personal and individual way a particularized harm and an injury in fact.

                  60. Plaintiff cannot make proper arrangements for transportation of himself to the

   IRO’s store locations without the ability to know in advance the IRO’s goods and services which

   service is available online through Defendant’s Website. Plaintiff also faces a great degree of

   uncertainty of how to physically travel to Defendant IRO’s store location. Plaintiff is effectively

   denied the ability to physically travel to Defendant IRO’s store.

                  61. Plaintiff has a concrete plan to purchase IRO’s clothing and accessories when

   Plaintiff is treated like other members of the public. By denying Plaintiff the opportunity to

   comprehend IRO’s Website therein due to Plaintiff’s disability (visual impairment), Defendant has

   denied Plaintiff the opportunity to participate in or benefit from Defendant’s goods and services

   as afforded to the public.

                  62. Plaintiff will suffer continuous and ongoing harm from Defendant’s omissions,

   policies, and practices set forth herein unless enjoined by this Court.




                                                     13
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 14 of 18




                  63. On information and belief, Defendant has not offered any form of Website in

   an accessible format for blind or visually impaired individuals.

                  64. Thus, Defendant has not provided full and equal enjoyment of the services,

   facilities, privileges, advantages, and accommodations provided at its stores and authorized

   retailers.

                  65.   All Public Accommodations must ensure that their Places of Public

   Accommodation provide Effective Communication for all members of the general public, including

   individuals with disabilities pursuant Title III ADA 28 C.F.R. § 36.303.

                  66. Binding case law increasingly recognize that private entities are providing

   goods and services to the public through their online point of sale which operates as “Places of

   Public Accommodation” under Title III.

                  67. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

   Website and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination

   due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.

                  68. Plaintiff has no plain, adequate, or complete remedy at law to redress the

   wrongs alleged hereinabove and this suit for injunctive relief is his only means to secure adequate

   redress from Defendant’s unlawful and discriminatory practices.

                  69. Notice to Defendant is not required as a result of Defendant’s failure to cure the

   violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

   2202.

                  70. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.




                                                    14
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 15 of 18




                  71. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to

   pay a reasonable fee for services in the prosecution of this cause, including costs and expenses

   incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

   Defendant IRO.

      COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

                  72. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

   Accommodations and requires Places of Public Accommodation to be designed, constructed, and

   altered in compliance with the accessibility standards established by Part 36 Regulation.

                  73. Defendant’s Website has not been designed to interface with the widely and

   readily available technologies for blinds that can be used to ensure effective communication.

                  74. As delineated above and pursuant to 42 U.S.C. §12181(7)(E), Defendant is a

   Public Accommodation under the ADA because it owns and/or operates the Website which is

   defined within §12181(7)(E), and is subject to the ADA.

                  75. No notice is required because under Title III of the ADA, 42 U.S.C. §

   12182(b)(1)(A)(II), it is unlawful discrimination to deny individuals with disabilities or a class of

   individuals with disabilities an opportunity to participate in or benefit from the goods, services,

   facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

   to other individuals.

                  76. Unlawful discrimination includes “a failure to make reasonable modifications

   in policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the



                                                    15
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 16 of 18




   nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §

   12182(b)(2)(A)(II).

                  77. Unlawful discrimination also includes “a failure to take such steps as may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services, unless the entity can demonstrate that taking such steps would fundamentally alter the

   nature of the good, service, facility, privilege, advantage, or accommodation being offered or

   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

                  78. Defendant is in violation of the ADA by creating barriers for individuals with

   disabilities who are visually impaired and who require the assistance of interface with screen reader

   software to comprehend and access its Website. These violations are ongoing.

                  79. As a result of the inadequate development and administration of Defendant’s

   Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and §12188, also 28

   C.F.R. §36.501 to remedy the discrimination.

                  80. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff Mahlberg injunctive relief; including an order to:

                  a) Require Defendant take the necessary steps to make all Defendant’s Website

   readily accessible to and usable by visually impaired users, and during that time period prior to the

   Website being readily accessible, to provide a temporary alternative method for individuals with

   visual impairments to access the information available on the Website until such time that the

   requisite modifications are made. Title III American with Disabilities Act Part 36 Regulation.

                  b) Require Defendant to provide periodic maintenance of the accessible website

   thru the appropriate auxiliary aids such that individuals with visual impairments will be able to



                                                    16
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 17 of 18




   always receive communication effectively with the Website for purposes of viewing and locating

   IRO’s stores and becoming informed of and signing up for IRO’s clothing products online, and of

   viewing electronic documents provided to the public within Defendant’s Website.

                  c) During the time period prior to the Website’s being designed to permit

   individuals with visual impairments to effectively communicate, requiring Defendant to provide

   an alternative method for individuals with visual impairments to effectively communicate so they

   are not impeded from obtaining the goods and services made available to the public. Title III ADA

   Part 36 Regulation.

                  81. For all of the foregoing, the Plaintiff has no adequate remedy at law.

                                       DEMAND FOR RELIEF

                  WHEREFORE, Plaintiff RAYMOND T. MAHLBERG hereby demands

   judgment against Defendant “IRO Inc” and requests the following injunctive relief permanently

   enjoin Defendant from any practice, policy and/or procedure which will deny Plaintiff equal access

   to, and benefit from Defendant’s services and goods, as well as the Court:

                  a. That the Court issue a Declaratory Judgment that determines that the Defendant’s

   website at the commencement of the subject lawsuit is in violation of Title III of the Americans

   with Disabilities Act, 42 U.S.C. § 12181 et seq.;

                  b. That the Court enter an Order directing Defendant to continually update and

   maintain their computer version of the defendant’s website to ensure that it remains fully

   accessible to and usable by visually impaired individuals;

                  c. That the Court issue an Injunctive relief order directing Defendant to alter their

   website to make it accessible to, and useable by, individuals with disabilities to the full extent

   required by Title III of the ADA;



                                                   17
Case 1:22-cv-22200-KMM Document 1 Entered on FLSD Docket 07/18/2022 Page 18 of 18




                  d. That the Court enter an Order directing Defendant to evaluate and neutralize their

   policies and procedures towards persons with disabilities for such reasonable time so as to allow

   Defendant to undertake and complete corrective procedures;

                  e. Further requests the Court to retain jurisdiction for a period to be determined to

   ensure that Defendant has adopted and is following an institutional policy that will in fact cause

   Defendant to remain fully in compliance with the law;

                  f. That the Court enter an award of attorney’s fees, costs and litigation expenses

   pursuant to 42 U.S.C. § 12205; and Title III of the ADA Section 36.505.



                                                Respectfully submitted,

   Dated this 18th day of July 2022.


                                                  /s/Acacia Barros
                                                  Attorney for Plaintiff
                                                  ACACIA BARROS, P.A.
                                                  Acacia Barros, Esq.
                                                  FBN: 106277
                                                  11120 N. Kendall Dr., Suite 201
                                                  Miami, Florida 33176
                                                  Tel: 305-639-8381
                                                  ab@barroslawfirm.com




                                       CERTIFICATE OF SERVICE

                I hereby certify that on this 18th day of July, 2022 that the foregoing document has

   been filed     using CM/ECF           system and     will    be      served via     email     when

   Defendant/Defendant’s counsel enters an appearance.




                                                   18
